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 1
                                                        Honorable Judge Robert Bryan
 2                                                     Noting date: October 26th, 2009
 3

 4

 5

 6                    UNITED STATES DISTRICT COURT
                WESTERN DISTRICT OF WASHINGTON AT TACOMA
 7
      UNITED STATES OF AMERICA,
 8
                                                  NO. CR 09-5452
 9               Plaintiff,
                                                  ORDER ON MOTION TO
10         v.                                     SUBSTITUTE COUNSEL

11    LEONEL BARRAGAN-ROJAS,
12
                 Defendant.
13

14
                 Having reviewed the declaration of counsel and considering the files
15

16         of this cause, the motion is hereby granted. Jeff Goldstein shall substitute

17         as attorney of record effective immediately and Paula Olson shall
18         withdraw, effective immediately.
19
                 IT IS SO ORDERED this 27th day of October, 2009.
20

21

22
                                     A
                                     ROBERT J. BRYAN
                                     United States District Judge
23
     ORDER ON MOTION TO SUBSTITUTE COUNSEL - 1                   JEFF GOLDSTEIN
                                                                ATTORNEY AT LAW
                                                                       P.O. BOX 17125
                                                                  Seattle, Washington 98125
                                                           Tel (206) 313-3644 i Fax (206) 260-3804
